
47 So. 3d 964 (2010)
Felix Enrique HIDALGO, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-227.
District Court of Appeal of Florida, Third District.
November 17, 2010.
Felix Enrique Hidalgo, in proper person.
Bill McCollum, Attorney General, and Lunar Alvey, Assistant Attorney General, for appellee.
Before WELLS and CORTIÑAS, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Appellant's Rule 3.800(a) motion alleges entitlement to additional credit for time served. We reverse and remand for a hearing or the attachment of records conclusively showing that the appellant is not entitled to that relief. See Langdon v. State, 947 So. 2d 460 (Fla. 3d DCA 2007).
